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 5                              UNITED STATES DISTRICT COURT
 6                                     DISTRICT OF NEVADA
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     DUSTON MILLER,
 8                                                         Case No.: 2:17-cv-02021-RFB-NJK
            Plaintiff,
 9                                                                       ORDER
     v.
10                                                                   [Docket No. 148]
     LAS VEGAS METROPOLITAN POLICE
11   DEPARTMENT, et al.,
12          Defendants.
13         Pending before the Court is Plaintiff’s motion to be reissued certain documents. Docket
14 No. 148. Specifically, Plaintiff asks the Court to send him copies of Defendants’ answer to
15 Plaintiff’s second and third amended complaints, certain discovery document disclosures, and a
16 disciplinary hearing report all of which, Plaintiff submits, were lost or damaged during Plaintiff’s
17 transfer between institutions. Id. at 2. Defendants submit in response that they will voluntarily
18 provide Plaintiff with copies of the requested documents. Docket No. 153 at 1. Accordingly,
19 Plaintiff’s motion, Docket No. 148, is DENIED as moot.
20         IT IS SO ORDERED.
21         Dated: December 2, 2021
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                                                                Nancy J. Koppe
23                                                              United States Magistrate Judge
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